Case 3:19-cv-00410-EMC Document 1-4 Filed 01/23/19 Page 1 of 23




            Exhibit
              D



                                                             Exhibit D
          Case 3:19-cv-00410-EMC Document 1-4 Filed 01/23/19 Page 2 of 23
                                                                         TOMMAND DIEON A MANUNIT MAN AT THE  US010078354B2

(12) United States Patent                                                            (10) Patent No.: US 10 ,078, 354 B2
        Eriksen                                                                      (45) Date of Patent:                           * Sep . 18 , 2018
(54) COOLING SYSTEM FOR A COMPUTER                                              (56 )                           References Cited
        SYSTEM
                                                                                                       U . S . PATENT DOCUMENTS
(71 ) Applicant: Asetek Danmark A / S , Aalborg East                                    3 ,810 ,509 A          5 / 1974 Kun
                     (DK )                                                              4 , 109 ,707 A         8 / 1978 Wilson et al.
(72 ) Inventor: André Sloth Eriksen , Nibe (DK )                                                                (Continued )
(73) Assignee: Asetek Danmark A /S, Aalborg East                                               FOREIGN PATENT DOCUMENTS
                     (DK )                                                      CN                       2514544 Y       10 /2002
( * ) Notice :       Subject to any disclaimer , the term of this               CN                       1387311 A       12 /2002
                     patent is extended or adjusted under 35                                                    (Continued )
                     U .S .C . 154 (b ) by 0 days.
                     This patent is subject to a terminal dis                                     OTHER PUBLICATIONS
                     claimer                                                    Office Action dated Mar. 23, 2016 in U . S . Appl. No. 13/ 942,922 (13
(21) Appl. No.: 15 /626 , 393                                                   pages)
                                                                                                                 (Continued )
(22) Filed:          Jun . 19, 2017
(65 )                   Prior Publication Data                                  Primary Examiner — Davis Hwu
                                                                                (74 ) Attorney, Agent, or Firm — Finnegan , Henderson ,
        US 2017 /0329375 A1 Nov. 16 , 2017                                      Farabow , Garrett & Dunner LLP
                 Related U .S. Application Data
(60 ) Continuation of application No. 15/ 347, 938, filed on                    (57 )                  ABSTRACT
      Nov. 10 , 2016 , now Pat. No. 9,715 , 260, which is a
                        (Continued )                                            A cooling system for a computer system comprises at least
                                                                                one unit such as a central processing unit (CPU ) generating
(51) Int. Ci.
     F28F 7700                     (2006 .01 )
                                                                                thermal energy and a reservoir having an amount of cooling
                                                                                liquid , said cooling liquid intended for accumulating and
        G06F 1 /20                 (2006 . 01)                                  transferring of thermal energy dissipated from the process
                             (Continued )                                       ing unit to the cooling liquid . The cooling system has a heat
(52) CPC
     U .S . CI............ G06F 1/206 (2013 .01); G06F 1/20                     exchanging interface for providing thermal contact between
                                                                                the processing unit and the cooling liquid for dissipating
                          ( 2013 .01 ); H05K 7 /20154 (2013 .01);               heat from the processing unit to the cooling liquid . Different
                             (Continued )                                       embodiments of the heat exchanging system as well as
                                                                                means for establishing and controlling a flow of cooling
(58) Field of Classification Search                                             liquid and a cooling strategy constitutes the invention of the
        CPC ...... GO6F 1 /206 ; G06F 1/ 20 ; G06F 2200 / 201;                  cooling system .
                       HO5K 7 /20154 ; HO5K 7 / 20263 ; HO5K
                         7 /20272; F28D 15/00 ; F28F 2250 /08
                             (Continued )                                                              19 Claims, 9 Drawing Sheets



                                                                    yo

                                                                                                   n




                                                                                                         .




                                                                                                         N




                                                 Www                                              Pu
                                                                 Hagen   With
                                                 wwwww

                                                         4.Art
               Case 3:19-cv-00410-EMC Document 1-4 Filed 01/23/19 Page 3 of 23


                                                                         US 10 ,Page
                                                                                078 ,2354 B2

                      Related U . S . Application Data                                         7 , 057, 894   B2    6 / 2006 Chang
                                                                                               7 ,100,389     B1    9 / 2006 Wayburn
          continuation of application No. 13 /942, 922 , filed on                              7 , 156, 160   B2    1/ 2007 Lee et al.
          Jul. 16 , 2013, which is a continuation of application                               7, 215 ,546    B2    5 / 2007 Hata et al.
         No. 13 /547 , 240 , filed on Jul. 12 , 2012 , which is a                              7 ,298, 617    B2   11/2007 Campbell et al.
                                                                                               7 , 325, 588 B2      2 / 2008 Malone et al.
          continuation of application No. 12 / 826 ,768, filed on                              7 ,325,591 B2        2 / 2008 Duan et al.
          Jun . 30 , 2010 , now Pat. No. 8 ,240 , 362 , which is a                             7 , 359, 197 B2
                                                                                               7 ,455 , 103 B2
                                                                                                                4 /2008
                                                                                                               11/ 2008
                                                                                                                              Stefanoski et al.
                                                                                                                              Sato et al.
          division of application No . 10 / 578 ,578 , filed as ap                             7 ,544 ,049 B2   6 /2009       Koga
          plication No. PCT/DK2004 /000775 on Nov. 8 , 2004 ,                                  7 ,591,302 B1 . 9 /2009        Lenehan et al.
          now Pat. No . 7 , 971 ,632 .                                                         7 ,971,632 B2        7 / 2011 Eriksen
                                                                                               8 ,240 ,362 B2       8 /2012 Eriksen
(51) Int . CI.                                                                                 9 ,715 ,260 B2 *     7 /2017 Eriksen               ....... G06F 1/ 20
          H05K 7 /20                            (2006 . 01)                               2002 /0117291 A18 / 2002 Cheon
          F28D 15 /00                                                                     2002 /0171388 AL         11/2002 Seki
                                                ( 2006 . 01)                              2003/0010050 A1           1/ 2003 Scott
(52 ) U .S . Cl.                                                                         2003/0039097 A1            2 / 2003 Igarashi
          CPC ..... H05K 7 /20263 (2013.01); H05K 7/20272                                2003/ 0056939 A1           3 / 2003 Chu et al.
                     (2013.01); F28D 15 /00 (2013 .01); F28F                             2003/0151895 Al
                                                                                          2004/ 0042176 A1
                                                                                                                    8 / 2003 Zuo
                                                                                                                    3 /2004 Niwatsukino et al.
           2250 /08 (2013 .01 ); G06F 2200 /201 (2013 .01)                                2004 /0052048 A1          3 / 2004 Wu et al.
(58) Field of Classification Search                                                       2004/0052049 A1           3 / 2004 Wu et al.
          USPC .. .. . .. .. . .. .. . .. .                    ... . . ... 165 /80. 4     2004/0052663 A1           3 /2004 Laing et al.
          See application file for complete search history.                               2004/0105232 A1
                                                                                          2004 /0141275 Al
                                                                                                                    6 /2004 Ito et al .
                                                                                                                    7 /2004 Athari
                                                                                          2004 /0190254 Al          9 /2004 Hu et al.
(56 )                             References Cited                                        2004/ 0233632 Al 11/2004 Chang
                                                                                          2005 /0052847 Al 3 /2005 Hamman
                         U .S . PATENT DOCUMENTS                                          2005 /0061482 A1 3 / 2005 Lee et al.
                                                                                          2005/0069432 A1           3 /2005 Tomioka
        4 ,520 ,298 A                5 / 1985 Abbondanti                                  2005 /0083656 Al          4 / 2005 Hamman
        4 , 563,620      A           1/ 1986    Komatsu                                   2005/0098305 Al           5 /2005 Lee et al.
        4 ,777 ,578      A         10 / 1988    Jahns                                     2005 /0126750       A1    6 /2005    Yokozawa et al.
        4 ,898 ,579      A           2 / 1990   Groshong et al.                           2005/0128705        Al    6 /2005   Chu et al .
        5 ,001, 548      A          3 / 1991    Iversen                                   2005 /0183848       A1    8 /2005   Cheng et al.
        5 ,006 ,924      A          4 / 1991    Frankeny et al.                           2005/0243518        A1   11/ 2005   Hata et al.
        5 ,070 ,936      A         12 / 1991    Carroll et al.                            2006 /0113066 A1          6 /2006 Mongia et al.
        5 , 142 ,214     A           8 / 1992   Purson et al.                            2006 /0157230 A1           7 /2006 Kawahara et al.
        5 ,316 ,077      A          5 / 1994    Reichard                                 2006 /0161311 Al           7 / 2006 Vinson et al.
        5 ,441, 102      A           8 / 1995   Burward -Hoy                              2006 /0169440 A18 / 2006 Chou et al.
        5 , 566 ,745     A         10 / 1996    Hill et al.                               2007/0000268 A1 1/ 2007 Crocker et al.
        5 ,708, 564      A           1 / 1998   Lin
        5 ,731,954       A           3 / 1998   Cheon
        5 , 763,951      A          6 / 1998    Hamilton et al.                                        FOREIGN PATENT DOCUMENTS
        5 , 784 , 257    A          7 / 1998     Tata
        5 ,825 ,622      A         10 / 1998    Rife et al.                             CN                  1510310      A   7 /2004
                                                                                                                             9 /2004
        5 ,890 ,880      A          4 / 1999    Lustwerk                                CN                    M24451
        5 , 901,037      A          5 / 1999    Hamilton et al.                         CN                   2658823     Y  11 / 2004
        6 ,019 , 165     A           2 / 2000   Batchelder                              DE                195 34 423     A1 3 / 1997
        6 ,021, 844      A           2 / 2000   Batchelder                              EP                  0105687      A1 4 / 1984
        6 , 114 ,827     A           9 /2000    Alvaro                                  EP                  0400455      A1 5 / 1990
        6 , 141,217      A         10 / 2000    Nakahama et al.                         EP                  0574823      A2 12 / 1993
        6 , 166 , 907    A         12/ 2000     Chien                                   EP                    0610826 A2        8 / 1994
         6,170, 563      B1          1/2001     Hsieh                                   JP              2002 - 151638 A         5 / 2002
        6 ,263 ,957 B1               7 / 2001 Chen et al.                                                      3452059          9 / 2003
        6 , 305, 463     B1 10 / 2001           Salmonson                               KR          10 - 2003 -0031027          4 / 2003
         6 ,343 ,478     B1   2 / 2002          Chang                                   TW                      159299          1 / 1995
        6 ,408, 937      B16 / 2002             Roy                                     TW                      577588          2 /2004
        6 ,415 , 860     B17 / 2002             Kelly et al.                            TW                     1220468          8 /2004
         6,447, 270      B1 . 9 / 2002          Schmidt et al.                          TW          M251442              U     11 /2004
        6 ,470 ,289 B1             10 / 2002 Peters                                     TW          M256682              U      2 / 2005
        6 ,529 ,376 B2               3 / 2003 Hamman                                    wo       WO 01/25881             A      4 /2001
        6, 551 ,734 B1 . 4 / 2003 Simpkins et al.                                       WO WO 2005 /017468               A2     2 /2005
        6,580 ,610 B2 . 6 / 2003                Morris et al.                           WO   WO 2005 /045654             A2     5 /2005
        6 , 668, 911 B2 . 12 /2003              Bingler                                 WO PCT/DK2005/000310                   11 /2006
        6 , 702, 002 B2    3 /2004              Wang                                    WO          WO 2006 / 119761           11 /2006
        6 , 725, 682 B2 4 / 2004                Scott
        6, 728 ,107 B2 4 / 2004                  Tseng et al.
        6, 749,012 B2               6 /2004     Gwin et al .                                                  OTHER PUBLICATIONS
        6 , 796,370 B1              9 / 2004    Doll
        6 , 892, 802 B2              5 /2005    Kelly et al.                            Office Action dated Aug . 10 , 2016 in U .S . Appl. No . 13 /942,922 ( 18
         6 , 894 , 899   B2         5 / 2005    Wu et al.                               pages).
         6 , 915 , 653   B2         7 / 2005    Nakano et al .                          Office Action dated Feb . 24 , 2017 in U . S . Appl. No. 15 /347, 938 ( 11
         6, 945, 315     B1         9 / 2005    Gektin et al.                           pages ) .
        6 ,952 ,345      B2        10 /2005 Weber et al.
        6 , 967, 841 B1 11/ 2005 Chu et al.                                             Notice of Allowance dated May 15, 2017 in U .S . Appl. No.
         6, 972,954 B2 . 12 / 2005 Minamitani et al.                                     15 / 347 , 938 ( 18 pages ).
        6 ,992 ,887 B2               1/ 2006 Jairazbhoy et al.                          Office Action dated Oct. 12 , 2012 in U . S . Appl. No. 11 /919 , 974 ( 14
        7 , 055 ,581 B1              6 / 2006 Roy                                       pages ).
           Case 3:19-cv-00410-EMC Document 1-4 Filed 01/23/19 Page 4 of 23


                                                             US 10 ,Page
                                                                    078 ,3354 B2

(56 )                  References Cited                                     Office Action dated Aug. 18 , 2008 in U .S. Appl. No. 10 /578 ,578 (9
                                                                            pages ) .
                    OTHER PUBLICATIONS                                      Office Action dated Mar. 20 , 2009 in U . S . Appl. No. 10 /578 ,578 ( 12
                                                                            pages).
Office
pages ).
        Action dated Oct. 6, 2016 in U .S . Appl. No. 13 / 861,593 (8       Office Action dated Jul. 15, 2009 in U .S . Appl. No. 10 /578,578 ( 13
Office Action dated Feb . 3 , 2017 in U .S . Appl. No. 13/ 861,593 ( 18     pages).
pages ).                                                                    Office Action dated Apr. 13 , 2010 in U .S . Appl. No. 10 /578 ,578 (14
Notice of Allowance dated Jun . 7 , 2017 in U .S . Appl. No. 13 / 861,593   pages).
( 16 pages)                                                                 Office Action dated Nov . 24 , 2010 in U .S . Appl. No. 10 / 578 ,578 ( 10
Notice of Allowability with Examiner's Reason for Allowance                 pages ).
dated May 17, 2012 in U . S . Appl. No. 12/ 826 , 768 ( 4 pages).           Office Action dated Nov . 23 , 2011 in U . S . Appl. No. 12/ 826 , 802 ( 11
Notice of Allowability with Examiner' s Reason for Allowance                pages ).
dated May 23 , 2012 in U . S . Appl. No. 13 /269,234 (4 pages ).            Office Action dated Dec . 5 , 2011 in U .S . Appl. No. 12 /826 ,768 (14
Notice of Allowability with Examiner' s Reason for Allowance                pages ).
dated Apr. 8 , 2011 in U . S . Appl. No. 10 / 578 , 578 (9 pages) .         Office Action dated Dec. 20 , 2011 in U .S . Appl. No. 13 /269,234 ( 13
Order re: Claim Construction for U .S . Pat. Nos . 8 ,240 ,362 and          pages )
8 ,245 ,764 in U .S . District Court, Northern District of California ,     Office Action dated Mar. 13 , 2012 in U . S . Appl. No. 13 /269 ,234 ( 12
Case Nos . C - 12 - 4498 EMC and C - 13 -0457 JST, filed Dec . 3 , 2013
( 18 pages ).                                                               pages).
 Third Party Observation for European Application No . EP20080100686        Office Action dated Mar. 27 , 2012 in U .S . Appl. No. 11 /919 ,974 ( 21
submitted on Aug. 15 , 2014 (8 pages ).                                     pages).
 Third Party Observation for European Application No. EP20080100686         Office Action dated Sep . 12 , 2012 in U . S . Appl. No. 13/ 547 ,240 ( 11
submitted on Aug. 18 , 2014 (7 pages ).                                     pages ).
Office Action dated Aug. 22 , 2007 in U .S . Appl. No. 10 / 578, 578 ( 7    Office Action dated Jan . 16 , 2013 in U .S . Appl. No. 13 /547, 240 (9
pages ).                                                                    pages).
Office Action dated Apr. 25, 2008 in U . S. Appl.No. 10 /578 ,578 ( 10
pages) .                                                                    * cited by examiner
Case 3:19-cv-00410-EMC Document 1-4 Filed 01/23/19 Page 5 of 23


  atent                              Sep. 18, 2018                                            Sheet 1 of 9                          US 10 ,078, 354 B2

                                                                                                                                                         working
                                                                                                                                                          be
                                                                                                                                                          ant
                                                                                                                                                          w




                                                                                              1
                                                                           VE
                                                  prisonmetnatmiseministerie
                                                                                                                                 solhanwkimeratndiem g
        ihin inte3741* 1#
   M
       tebrata
           AT
                 4




                                            **
                                                 ***
                                                                         ping

            **
                     **
                              fr**
                                       Antiektientistituit
                      Extraprender
                                                       tu
                                                       **
                                                            **445

                                                                                    FIG . 1


                                                                    TI*Mpekee

                                      ***
                                                       **
                                                   Pia ntanter      miratuak
                                                                      writme
                                                                                t
                                                                                                            to the
                                                                    hair utti                     t   ude
                                                                                    Atti                                  MANO
                                      wquowrg                                        pantal
                                       Purularywidel                                who
                                                                y

                                                                                    ww
                                                                          ap orterinde putstitia       mu  t u t et
                                                                                        414t ttttttttttttttttttt141 14
                                                                                                                      u
                                                                                                                      FIG . 2
Case 3:19-cv-00410-EMC Document 1-4 Filed 01/23/19 Page 6 of 23


      atent                                                      Sep. 18, 2018                                     Sheet 2 of 9                                                            US 10 ,078 ,354 B2




                           mitt***




     fermniwdyarmepocin
                  pe            the

                                                                       star   334
                                                                              o

                                                                              stliny                    Forthirt



                                                                                                    historien
                         ansiihen
rhidrarwdreortw Wintentionam                     **Pitt
                                                           f


                                                                         prat ut o
                                                                                        ominant
                                                                                          Winthlutir               y




                                                pouremplatesp ritonit nimu Withoptim eriem r ie
                         *          ****                                                         -www
                               **
                                       thatting
                                         stathathugih                                   stfits                            that
                               ** **                                              MA    Sheikh
                                                                                                                                                        wwwwwwwwww


                                                                                                                                                                                                          trestwitttruir enar
                                         n
                                            popotniil
                                                                                                                                                                     Actioproductitohn e           #retro
                                                                                                                                                                                                             wirowdhur
      prepar tio
       ww
                    i




                                       permaFneatt orin
                                            *
                                             *
                                             **
                                              *
                                                  fit
                                                      byt
                                                          Www
                                                               *** *




                                                               he
                                                                                  XXX
                                                                                  *




                                                                                                  mthanentalite                       whitrostudentwithrelated
                                                                                                                                                                 with
                                                                                                                                                                 n
                                                                                                                                                                                                  untur144




                                                                                  ri
                                                                                           uwa                             wit endi
                                                                                                                   orit
                                                                                                                                                                                                 3
                                                                                                                                                                                                 .
                                                                                                                                                                                                 FIG
en men women and
    Case 3:19-cv-00410-EMC Document 1-4 Filed 01/23/19 Page 7 of 23



U.S. Patenatent                         Sep. 18, 2018                                                  Sheet 3 of 9




                                                                                                              **
                                                                                                               ***111*

                                                                                                                             www
                                                                                                                                                  *
                                                                                                                                                  **
                                                                                                                                                   **
                                                                                                                                                    *
                                                                                                                                                    *
                                                                                                                                                                                      US 10 ,078,354 B2




                                                                                                                                                      mort

                                                                                Fit                                                                                e
                                                                                                                                                                       m



                                                                                         om                                               WWWWWW
                                                                                                                                           They
                                                                                                                                                                                            ****




                                                                                                                                                                                                   5
                                                                                                                                                                                                   .
                                                                                                                                                                                                   FIG
                                                                            14


                                                                        1344*
                                                                                                                         Y
                                                                                                                                           wwww



                                                                                                                                                               etdi
                                                                                                                                                              wwwwwwww




                                                                                                                  Luot otMiuebdaroatn3iwlotnsitrheimbedra tifruitywnertherapeutemrtenderita H
                                                                                                                                                   hati
                                                                                                                                                                   t




                                                                                     ****




    www



                 remonit etyWE
                          wwwwwwwwww                               **


                                                               hebtJe
             o

            ut
                                                           T                                   KW
                                                                                                                                          4
                                                                                                                                          .
                                                                                                                                          FIG
                                                   r     tun
                   . 13
                               priserthoseformensues
                                                  alid
                                  tut
                                                               F
                                                                                     i
                                                                                            hatin    wifi
                                                                                 f


                  14      **                                                             antstolar                                  bilimibbir
                                                                                                                                                       T




                                                                   thir turiympidur
                                                                                                      TIT




                                                               #
                                                                                                            Awirt iemrit
                                                                                                             TE
Case 3:19-cv-00410-EMC Document 1-4 Filed 01/23/19 Page 8 of 23


  atent                                        Sep. 18, 2018                                   Sheet 4 of 9                                             US 10 ,078, 354 B2




                                           entWhite                 OP14                     lectum
                                                       VowWwWww
                                                        WWWWWWWWWWW
                                                           WWWWWWWWW
     Mehm ndraithemiftprairpairmasitsemperam    **
                                                     ***



                                                                     honything                     watatu
                                                                                                    w




                         writwoywriteruminterd um lonly
                                                     ht
                                                            MM
                                                           14titt                    photoruit
                                                                                                                                                               6
                                                                                                                                                               .
                                                                                                                                                               FIG
                                                                wataturunwunili
                                                                            K




                                     19                arun itw eruit et Hesretiu thu
                                                            MM
                                                                             humann
                                                                           tam

                                                                                 Sosnowiec
                                                                                                      W



                                                                                                            *
                                                                                                                 Wwwwwwwww
                                                                                         hetibeshtetettiin
                                                                                              *********




                                                                            pirm pinap h ort                *
                                                                                                            *
                                                                                                            k
                                                                                                                at itutket yinthel
                                                                                                                         t
                                                                                                                              h
                                                                                                                              114
                                                                                                                                  *
                                                                                                                                     tinerehirier



                                                                                        weHindutntheAthieirsterti elit Mwith
                                                                                                                       do
                                                                                                                       D

                                                                                                                                       D
                                                                                                                                                    w




                                                                                                                                                        ao
   Case 3:19-cv-00410-EMC Document 1-4 Filed 01/23/19 Page 9 of 23



U.S. Patent
     atent                      Sep. 18, 2018                                           Sheet 5 of 9                                                      US 10 ,078 ,354 B2



                                                                                                              1**
                                                                                                                                                          14
                                                                                                ostamine
                                                                                                     *




                                                                                               Yurtit

                                                                                                     *
                                                                                                     *
                                                                                                     *..
                                                                                                            pentruJoiyn tir                    maripotermind    8
                                                                                                                                                                .
                                                                                                                                                                FIG
           retului                                bathritt2
                                                              weitrine      irretrutructur*


     you
                 esmitti
                                my                       12
                                                  # thmitar   t
                                                                     Lur onterapi rastumis atir.t
                                                                hierprema
                                                                         h




                           ab




                                                     home
                                                    Artri tit                                                                       mi

                                     rth iframe
                                                                   minute                                                                                      7
                                                                                                                                                               .
                                                                                                                                                               FIG
                                                                                                           tuhaintutiperrestisptemnitresseinportin
                                              1
                                          1


                                                   bilmi                                                     termostat
                     besplatnihniepamirpkirnpartnerid
                                     4



                                              Themorethan
                                                      we
                                howmeon
                                                                                                                ***utrpentuterregit ium


                                                  Latirumpermiternt                            Mituti
Case 3:19-cv-00410-EMC Document 1-4 Filed 01/23/19 Page 10 of 23


  atent               Sep. 18, 2018                                      Sheet 6 of 9                                                         US 10 ,078, 354 B2

                                                                                  om




                                                                                                                                                                    wATWM
                                                                                                               * ** *
                                                                                                                               **
                                                                                                                                    14                                     NASA

                         LCXW gamTSMhowroms
          ??k
                why
                        I
                            -




                                 w
                             WARISN
                                  W
                                      nternet
                                                and thegametmandatitudinem


                                                        to
                                                            ro

                                                          stopthe




                                                         FIG . 9
                                                                    26                             WARTMEN
                                                                                                 caiwng w
                                                                                                                 FAMU
                                                                                                             W.ANW W
                                                                                                                          Hager*****
                                                                                                                                             **
                                                                                                                                                     * ******
                                                                                                                                                                    A




                                                                                                                                                         wTwAVKaUnThAiNn




                  Onky

                      wtime withou


                                               W w m a e                                W Why W WPRAC
                                                                                          wesAMW
                                                                                                      puisto
                                                                                                     wwwww
                                                                                                                         *
                                                                                                                          *




                                                                                                                                                  AWAMETNETWRRIKOWSSIN W
                                                                                                                                                     .




                                                                             yt Ww W W
                                                                                                                                                  W




                         ponov          syntyn
                                        mi
                                                                        W




                                                                                  a
                                                                                        W .w w
                                                                                                                                         *
                                                                                                                                              Krem
                                                                                  w                                             *

                                                                                                                       *****
                                                                                      minMM
                                                                                  K




                                                      FIG . 10
   Case 3:19-cv-00410-EMC Document 1-4 Filed 01/23/19 Page 11 of 23



U.S. Paten
      atent                              Sep. 18, 2018                                         Sheet 7 of 9                                            US 10 ,078, 354 B2




                                                                                              inain
                                um                                        Min manatatii
                                   i                                                                                   4ttnih
                                                 ndywing
                                                    When    47111*
                                                                                                                                imit

                                                 tek                                                  kep   athstartbat er
                                                                                                                i ntinh




                                    Ahora                    tatti
                                                                  mintaAyuhattar
                                                    Weitplader Ibronnement
                                                                             por
                                                                                                m




                                                        1
                                                                                             FIG . 11

                                                                                Altai

     produkter     ****
                          mit
                                  ts
                                        wan
                                           t
                                                       husethattiltime
                                                            I
                                                                   beintthatdestinatingdel

                                                                i ti
     min      ry
               Tetut mitir
                                ? g? w? ? ? ? ? ? ? ? ? ? ? ?r?
                                hittagsmun
           d residenteduket
                                                  nebunianie139140141 4
                          ??
                                       ** ****


                                                                                                    untukw
                                                                                                                             ilaya
                                                                                                                                     w xiu   Statistisetun istetyt   1
           FIG . 12
                                                                                                                          FIG . 13
Case 3:19-cv-00410-EMC Document 1-4 Filed 01/23/19 Page 12 of 23


  atent                                  Sep. 18, 2018                           Sheet 8 of 9                              US 10 ,078, 354 B2




     Wynwr          pendudukLebseetnesmpmait ttenetodproduktimento
                                                    transmisymp
                                                    to

                                                                     p
                                                                         ty i                                   199
                                                                                                                       9




                                                                                                                                              arwa

                                                                         e rcontratouage
                                                                                n partnerite                                              w www w
                                                                                                             num er

        W *AMA RW
                                                                                                         Showcontact
                                                                                                                sinnum
                                                                                                                           Mittwtiment    W




                                                                                               Minimum                               AN



                                                     1
                                                                                         ordic berminants
                                                                         FIG . 14
   Case 3:19-cv-00410-EMC Document 1-4 Filed 01/23/19 Page 13 of 23



U.S. Patent
     atent                Sep. 18, 2018                                    Sheet 9 of 9                                                                             US 10 ,078 ,354 B2




                                                                                                                                                         ***
                                                                                                                                                               **


                                                                                                                                                                      Starea
                                                            w              h
                                                                                         appened                                    haMwwinnkmuaowne o
                                                                                                                                                                      *
                                                                                                                                                                      *
                                                                                                                                                                      *




                                                           yyy
                                                           y
                                                                 M40WARE
                                                                                                        tothe
                                                                                                                          **
                                                                                                                                        MWEMNAminuteS                          ook



                                  wymiary                  *




                                                           A
                                                                                                                                   W




                  *


                  Y

                                                                                                                                                   FIG . 15
              *
      ** **


        putih
                      terimpe


                                  WW

                                                    PASTLGKMR Tuwimn W.ANOTRANw
                                  w apthe WMXAaRntKworeN
                                                                                   Wow

                                                                               ANW I W
                                                                               W
                                                                                         *
                                                                                                   ww
                                                                                                   w




                                                                                                   w




                                                                                                       hi
                                                                                                            ******* *******
                                                                                                                              **




                                                                                                                                   FIG . 16
                                                                                                                                             WYSTAMEN
         Case 3:19-cv-00410-EMC Document 1-4 Filed 01/23/19 Page 14 of 23


                                                     US 10 ,078, 354 B2
       COOLING SYSTEM FOR A COMPUTER                                 create a liquid -cooling arrangement, which can be used with
                          SYSTEM                                     existing CPU types , and which can be used in existing
                                                                     computer systems.
   This is a continuation application of application Ser . No.         This object may be obtained by a cooling system for a
15 /347,938 filed Nov. 10 , 2016 , which is a continuation 5 computer system , said computer system comprising : at least
application of application Ser. No. 13 /942 ,922 filed Jul. 16 ,     one unit such as a central processing unit (CPU ) generating
2013 , which is a continuation application of application Ser.       thermal energy and said cooling system intended for cooling
No . 13 / 547 ,240 filed Jul. 12 , 2012 , which is a continuation    the at least one processing unit , a reservoir having an amount
application of application Ser. No. 12 /826 ,768 filed Jun. 30 ,     of cooling liquid , said cooling liquid intended for accumu
2010 ( issued on Aug. 14 , 2012 as U . S . Pat. No . 8 , 240 , 362), 10 lating and transferring of thermal energy dissipated from the
which is a divisional of application Ser . No . 10 /578 ,578 , processing unit to the cooling liquid , a heat exchanging
filed May 5 , 2006 (issued on Jul. 5 , 2011 as U . S . Pat. No .        interface for providing thermal contact between the process
7 , 971,632 B2), which is a U .S . national phase application of ing        unit and the cooling liquid for dissipating heat from the
PCT/DK2004 /000775 filed on Nov. 8 , 2004 . These applica is processing unit to the cooling liquid , a pump being provided
tions are incorporated by their entirety herein by reference . 15 as part of an integrate element, said integrate element
          BACKGROUND OF THE INVENTION                                   comprising the heat exchanging interface, the reservoir and
                                                                the pump, said pump intended for pumping the cooling
   The present invention relates to a cooling system for a liquid into the reservoir , through the reservoir and from the
central processing unit (CPU ) or other processing unit of a 20 reservoir to a heat radiating means, — said heat radiating
computer system . More specifically , the invention relates to means intended for radiating thermal energy from the cool
a liquid -cooling system for a mainstream computer system       ing liquid , dissipated to the cooling liquid , to surroundings
such as a PC .                                                  of the heat radiating means.
   During operation of a computer , the heat created inside        By providing an integrate element, it is possible to limit
the CPU or other processing unit must be carried away fast 25 the number of separate elements of the system . However,
and efficiently, keeping the temperature within the design    there is actually no need for limiting the number of elements ,
range specified by the manufacturer. As an example of                because often there is enough space within a cabinet of a
cooling systems, various CPU cooling methods exist and the           computer system to encompass the different individual ele
most used CPU cooling method to date has been an air -              ments of the cooling system . Thus , it is surprisingly that, at
cooling arrangement, wherein a heat sink in thermal contact 30 all, any attempt is conducted of integrating some of the
with the CPU transports theheat away from the CPU and as             elements .
an option a fan mounted on top of the heat sink functions as            In preferred embodiments according to this aspect of the
an air fan for removing the heat from the heat sink by               invention , the pump is placed inside the reservoir with at
blowing air through segments of the heat sink . This air -           least an inlet or an outlet leading to the liquid in the
cooling arrangement is sufficient as long as the heat pro - 35 reservoir . In an alternative embodiment the pump is placed
duced by the CPU is kept at today ' s level, however it        outside the reservoir in the immediate vicinity of the reser
becomes less useful in future cooling arrangements when voir and wherein at least an inlet or an outlet is leading
considering the development of CPUs since the speed of a directly to the liquid in the reservoir. By placing the pump
CPU is said to double perhaps every 18 months, thus inside the reservoir or in the immediate vicinity outside the
increasing the heat production accordingly.                40 reservoir , the integrity of the combined reservoir, heat
   Another design used today is a CPU cooling arrangement exchanger and pump is obtained , so that the element is easy
where cooling liquid is used to cool the CPU by circulating to employ in new and existing computer systems, especially
a cooling liquid inside a closed system by means of a mainstream computer systems.
pumping unit, and where the closed system also comprises         The object may also be obtained by a cooling system for
a heat exchanger past which the cooling liquid is circulated . 45 a computer system , said computer system comprising : at
   A liquid - cooling arrangement is more efficient than an          least one unit such as a central processing unit (CPU )
air-cooling arrangement and tends to lower the noise level of        generating thermal energy and said cooling system intended
the cooling arrangement in general. However, the liquid              for cooling the at least one processing unit, a reservoir
cooling design consists of many components , which                   having an amount of cooling liquid , said cooling liquid
increases the total installation time, thus making it less 50 intended for accumulating and transferring of thermal
desirable as a mainstream solution . With a trend of produc -        energy dissipated from the processing unit to the cooling
ing smaller and more compact PCs for the end -users , the            liquid , a heat exchanging interface for providing thermal
greater amount of components in a typical liquid -cooling            contact between the processing unit and the cooling liquid
arrangement is also undesirable . Furthermore , the many             for dissipating heat from the processing unit to the cooling
components having to be coupled together incurs a risk of 55 liquid , a pump intended for pumping the cooling liquid into
leakage of cooling liquid from the system .                  the reservoir , through the reservoir and from the reservoir to
                                                                     a heat radiating means, said cooling system being intended
               SUMMARY OF INVENTION                                  for thermal contact with the processing unit by means of
                                                                     existing fastening means associated with the processing unit,
  It may be one object of the invention to provide a small 60 and said heat radiatingmeans intended for radiating from the
and compact liquid - cooling solution , which is more efficient cooling liquid thermal energy , dissipated to the cooling
than existing air - cooling arrangements and which can be            liquid , to surroundings of the heat radiating means.
produced at a low cost enabling high production volumes. It             The use of existing fastening means has the advantage
may be another object to create a liquid - cooling arrange           that fitting of the cooling system is fast and easy . However,
ment, which is easy - to -use and implement, and which 65 once again there is no problem for the person skilled in the
requires a low level of maintenance or no maintenance at all.        art to adopt specially adapted mounting means for any
It may be still another object of the present invention to           element of the cooling system , because there are numerous
         Case 3:19-cv-00410-EMC Document 1-4 Filed 01/23/19 Page 15 of 23


                                                    US 10 ,078 , 354 B2
possibilities in existing cabinets of computer systems for         chosen by the skilled person . In preferred embodiments
mounting any kind of any number of elements , also elements        according to any aspect of the invention , an electrical motor
of a cooling system .                                              is intended both for driving the pump for pumping the liquid
   In preferred embodiments according to this aspect of the        and for driving the a fan for establishing a flow of air in the
invention , the existing fastening means are means intended 5 vicinity of the reservoir, or an electrical motor is intended
for attaching a heat sink to the processing unit, or the          both for driving the pump for pumping the liquid and for
existing fastening means are means intended for attaching a       driving the a fan for establishing a flow of air in the vicinity
cooling fan to the processing unit , or the existing fastening     of the heat radiating means, or an electrical motor is
means are means intended for attaching a heat sink together        intended both for driving the pump for pumping the liquid ,
with a cooling fan to the processing unit . Existing fastening 10 and for driving the a fan for establishing a flow of air in the
means of the kind mentioned is commonly used for air               vicinity of the reservoir , and for driving the a fan for
cooling of CPUs of computer systems, however, air cooling         establishing a flow of air in the vicinity of the heat radiating
arrangements being much less complex than liquid cooling          means.
systems. Nevertheless, it has ingeniously been possible to          By utilising a single electricalmotor for driving more than
develop a complex and effective liquid cooling system 15 one element of the cooling system according to any of the
capable of utilising such existing fastening means for simple aspects of the invention , the lesser complexity and the
and less effective air cooling arrangements .                 reliability of the cooling system will be further enhanced .
   According to an aspect of the invention, the pump is               The heat exchanging interface may be an element being
selected from the following types : Bellows pump, centrifu -       separate from the reservoir, and where the heat exchanging
gal pump, diaphragm pump, drum pump , flexible liner 20 interface is secured to the reservoir in a manner so that the
pump, flexible impeller pump, gear pump, peristaltic tubing       heat exchanging interface constitutes part of the reservoir
pump, piston pump, processing cavity pump, pressure                when being secured to the reservoir. Alternatively, the heat
washer pump, rotary lobe pump, rotary vane pump and                exchanging interface constitutes an integrate surface of the
electro -kinetic pump. By adopting one or more of the              reservoir, and where the heat exchanging surface extends
solution of the present invention , a wide variety of pumps 25 along an area of the surface of the reservoir, said area of
may be used without departing from the scope of the surface being intended for facing the processing unit and
invention .                                                    said area of surface being intended for the close thermal
   According to another aspect of the invention , driving          contact with the processing unit. Even alternatively , the heat
means for driving the pump is selected among the following     exchanging interface is constitutes by a free surface of the
driving means : electrically operated rotary motor, piezo - 30 processing unit, and where the free surface is capable of
electrically operated motor, permanent magnet operated         establishing heat dissipation between the processing unit and
motor, fluid -operated motor, capacitor -operated motor. As is     the cooling liquid through an aperture provided in the
the case when selecting the pump to pump the liquid , by           reservoir , and where the aperture extends along an area of
adopting one or more of the solution of the present inven          the surface of the reservoir , said surface being intended for
tion , a wide variety of pumps may be used without departing 35 facing the processing unit .
from the scope of the invention .                                     The object may also be obtained by a cooling system for
   The objectmay also be obtained by a cooling system for          a computer system , said computer system comprising: at
a computer system , said computer system comprising: at            least one unit such as a central processing unit (CPU )
least one unit such as a central processing unit (CPU )            generating thermal energy and said cooling system intended
generating thermal energy and said cooling system intended 40 for cooling the at least one processing unit comprising , a
for cooling the at least one processing unit , a reservoir         reservoir having an amount of cooling liquid , said cooling
having an amount of cooling liquid , said cooling liquid           liquid intended for accumulating and transferring of thermal
intended for accumulating and transferring of thermal              energy dissipated from the processing unit to the cooling
energy dissipated from the processing unit to the cooling          liquid , a heat exchanging interface for providing thermal
liquid , a heat exchanging interface for providing thermal 45 contact between the processing unit and the cooling liquid
contact between the processing unit and the cooling liquid         for dissipating heat from the processing unit to the cooling
for dissipating heat from the processing unit to the cooling       liquid , a pumping means being intended for pumping the
liquid , a pump intended for pumping the cooling liquid into       cooling liquid into the reservoir , through the reservoir and
the reservoir , through the reservoir and from the reservoir to    from the reservoir to a heat radiating means , said heat
a heat radiating means, and said cooling system further 50 radiating means intended for radiating thermal energy from
comprising a pump wherein the pump is driven by an AC              the cooling liquid , dissipated to the cooling liquid , to sur
electrical motor by a DC electrical power supply of the roundings of theheat radiating means, said heat exchanging
computer system , where at least part of the electrical power    interface constituting a heat exchanging surface beingmanu
from said power supply is intended for being converted to factured from a material suitable for heat conducting , and
AC being supplied to the electrical motor.                    55 with a first side of the heat exchanging surface facing the
  Itmay be advantageous to use an AC motor, such as a 12V          central processing unit being substantially plane and with a
AC motor, for driving the pump in order to obtain a stabile        second side of the heat exchanging surface facing the
unit perhaps having to operate 24 hours a day , 365 days a         cooling liquid being substantially plane and said reservoir
year. However, the person skilled in the art will find it being manufactured from plastic , and channels or segments
unnecessary to adopt as example a 12V motor because high 60 being provided in the reservoir for establishing a certain
voltage such as 220V or 110V is readily accessible as this is  flow -path for the cooling liquid through the reservoir.
the electrical voltage used to power the voltage supply of the    Providing a plane heat exchanging surface , both the first,
computer system itself . Although choosing to use a 12V            inner side and on the second , outer side, results in the costs
motor for the pump, it has never been and will never be the        for manufacturing the heat exchanging surface is reduced to
choice of the person skilled in the art to use an AC motor. 65 an absolute minimum . However, a plane first, inner surface
 The voltage supplied by the voltage supply of the computer        may also result in the cooling liquid passing the heat
system itself is DC , thus this will be the type of voltage        exchanging surface too fast . This may be remedied by
         Case 3:19-cv-00410-EMC Document 1-4 Filed 01/23/19 Page 16 of 23


                                                     US 10 ,078, 354 B2
providing grooves along the inner surface , thereby providing        cooling performance of the cooling system , a certain elec
a flow path in the heat exchanging surface . This however            trical consumption of the cooling system , a certain noise
results in the costs for manufacturing the heat exchanging level of the cooling system .
surface increasing. The solution to this problem according to         Applying the above method ensures an operation of the
the invention has been dealt with by providing channels or 5 computer system being in accordance with selected proper
segments in the reservoir housing instead . The reservoir   oir    ties during the use of the computer system . For some
housing may be manufactured by injection moulding or by applications, the cooling performance is vital such asmay be
casting, depending on the material which the reservoir
housing is made from . Proving channels or segments during the         case when working with image files or when download
moulding or casting of the reservoir housing is much more 10 unitslarge
                                                                   ing
                                                                         is
                                                                              files from a network during which the processing
                                                                            highly   loaded and thus generating much heat. For
cost- effective than milling grooves along the inner surface of other applications     , the electrical power consumption is more
the heat exchanging surface .
   The object may also be obtained by a cooling system for computer systems or be
                                                                   vital such   as  may
                                                                                           in
                                                                                                the case when utilising domestic
                                                                                               large office building in environments
a computer system , said computer system comprising: at
                                             sing unit  ( CPU
least one unit such as a central processing unit (CPU ) 15 whe) 15 where   the  electrical   grid  may   be weak such as in third
generating thermal energy and said cooling system intended countries . In still other applications, the noise generated by
for cooling the at least one processing unit comprising , at the cooling system is to be reduced to a certain level, which
least one liquid reservoir mainly for dissipating or radiating may be the case in office buildings with white collar people
heat, said heat being accumulated and transferred by said working alone, or at home, if the domestic computer perhaps
cooling liquid , said cooling system being adapted such as to 20 is situated in the living room , or at any other location where
provide transfer of said heat from a heat dissipating surface        other exterior considerations have to be dealt with .
to a heat radiating surface where said at least one liquid             According to another aspect of the invention , a method is
reservoir being provided with one aperture intended for              envisaged , said method being employed with cooling system
being closed by placing said aperture covering part of , further comprising a pumping means with an impeller for
alternatively covering the whole of, the at least one process - 25 pumping the cooling liquid through a pumping housing, said
ing unit in such a way that a free surface of the processing         pumping means being driven by an AC electrical motor with
unit is in direct heat exchanging contact with an interior of        a stator and a rotor, and said pumping means being provided
the reservoir , and thus in directheat exchanging contact with       with a means for sensing a position of the rotor, and wherein
the cooling liquid in the reservoir , through the aperture .         the method comprises the following steps: initially estab
   Heat dissipation from the processing unit to the cooling 30       lishing a preferred rotational direction of the rotor of the
liquid must be very efficient to ensure proper cooling of the        electrical motor, before start of the electrical motor, sensing
processing unit, Especially in the case , where the processing       the angular position of the rotor, during start , applying an
unit is a CPU , the surface for heat dissipation is limited by       electrical AC voltage to the electrical motor and selecting
the surface area of the CPU . This may be remedied by                the signal value , positive or negative , of the AC voltage at
utilising a heat exchanging surface being made of a material 35 start of the electrical motor, said selection being made
having a high thermal conductivity such as copper or                 according to the preferred rotational direction , and said
aluminium and ensuring a proper thermal bondage between              application of the AC voltage being performed by the
the heat exchanging surface and the CPU .                       computer system for applying the AC voltage from the
  However, in a possible embodiment according to the            electrical power supply of the computer system during
features in the above paragraph , the heat dissipation takes 40 conversions of the electrical DC voltage of the power supply
place directly between the processing unit and the cooling           to AC voltage for the electrical motor.
liquid by providing an aperture in the reservoir housing, said          Adopting the above method according to the invention
aperture being adapted for taking up a free surface of the           ensures the most efficient circulation of cooling liquid in the
processing unit . Thereby, the free surface of the processing        cooling system and at the same time ensures the lowest
unit extends into the reservoir or constitutes a part of the 45 possible energy consumption of the electrical motor driving
boundaries of the reservoir, and the cooling liquid has direct the impeller. The efficient circulation of the cooling liquid is
access to the free surface of the processing unit.                   obtained by means of an impeller being designed for rotation
   According to one aspect of the invention , a method is            in one rotational direction only , thus optimising the impeller
envisaged , said method of cooling a computer system com             design with regard to the only one rotational direction as
prising at least one unit such as a central processing unit       50 opposed to both rotational directions. The low energy con
(CPU ) generating thermal energy and said method utilising           sumption is achieved because of the impeller design being
a cooling system for cooling the at least one processing unit        optimised , thus limiting the necessary rotational speed of the
and, said cooling system comprising a reservoir , at least one       impeller for obtaining e certain amount of flow of the
heat exchanging interface , an air blowing fan , a pumping           cooling liquid through the cooling system . A bonus effect of
means , said method of cooling comprising the steps of 55 the lowest possible energy consumption being obtained is
applying one of the following possibilities of how to operate the lowest possible noise level of the pump also being
the computer system : establishing , or defining , or selecting      obtained . The noise level of the pump is amongst other
an operative status of the computer system , controlling the         parameters also dependent on the design and the rotational
operation of at least one of the following means of the              speed of the impeller. Thus, an optimised impeller design
computer system ; the pumping means and the air blowing 60 and impeller speed will reduce the noise level to the lowest
fan in response to at least one of the following parameters ; possible in consideration of ensuring a certain cooling
a surface temperature of the heat generating processing unit, capacity .
an internal temperature of the heat generating processing
unit, or a processing load of the CPU and in accordance with         BRIEF DESCRIPTION OF THE FIGURES
the operative status being established , defined or selected , 65
controlling the operation of the computer system in order to      The invention will hereafter be described with reference
achieve at least one of the following conditions; a certain to the drawings, where
         Case 3:19-cv-00410-EMC Document 1-4 Filed 01/23/19 Page 17 of 23


                                                    US 10 ,078 , 354 B2
  FIG . 1 shows an embodiment of the prior art . The figure             FIG . 3 shows another embodiment of a prior art cooling
shows the typical components in an air -cooling type CPU             system . The figure shows the typical components in a
cooling arrangement.                                                 liquid - cooling type CPU cooling arrangement. The figure
  FIG . 2 shows an embodiment of the prior art. The figure           shows a prior art heat exchanger 7 , which is in connection
shows the parts of the typical air -cooling type CPU cooling 5 with a prior art liquid reservoir 8 , a prior art liquid pump 9
arrangement of FIG . 1 when assembled .                        and a heat radiator 11 and an air fan 10 provided together
   FIG . 3 shows an embodiment of the prior art. The figure with the heat radiator. The prior art heat exchanger 7 , which
shows the typical components in a liquid - cooling type CPU can    be mounted on a CPU (not shown ) is connected to a
                                                               radiator and reservoir, respectively . The reservoir serves as
cooling arrangement.
   FIG . 4 is an exploded view of the inventionin and
                                                  and the
                                                      the 10 a storage unit for excess liquid not capable of being con
                                                             tained in the remaining components . The reservoir is also
surrounding elements .
  FIG . 5 shows the parts shown in the previous figure when          intended as a means for venting the system of any air
                                                                     entrapped in the system and as a means for filling the system
assembled and attached to the motherboard of a computer              with liquid . The heat radiator 11 serves as a means for
system .                                                    15       removing the heat from the liquid by means of the air fan 10
   FIG . 6 is an exploded view of the reservoir from the             blowing air through the heat radiator. All the components are
previous FIGS. 4 and 5 seen from the opposite site and also          in connection with each other via tubes for conducting the
showing the pump.                                                     liquid serving as the cooling medium .
   FIG . 7 is a cut-out view into the reservoir housing the             FIG . 4 is an exploded view of a cooling system according
pump and an inlet and an outlet extending out of the 20              to an embodiment of the invention . Also elements not being
reservoir.                                                           part of the cooling system as such are shown . The figure
  FIG . 8 is a view of the cooling system showing the                shows a central processing unit CPU 1 mounted on a
reservoir connected to the heat radiator.                           motherboard of a computer system 2 . The figure also shows
  FIG . 9 - 10 are perspective views of a possible embodiment a part of the existing fasteningmeans, i.e . amongst others the
of reservoir housing providing direct contact between a CPU 25 frame 3 with mortises provided in the perpendicular extend
and a cooling liquid in a reservoir.                                 ing studs in each corner of the frame. The existing fastening
  FIG . 11 - 13 are perspective views of a possible embodi          means , i. e. the frame 3 and the braces 6 , will during use be
ment of heat sink and a reservoir housing constituting an    attached to the motherboard 2 by means of bolts , screws,
integrated unit .                                            rivets or other suitable fastening means extending through
   FIG . 14 is a perspective view of the embodiment shown 30 the four holes provided in each corner of the frame and
in FIG . 9 - 10 and the embodiment shown in FIG . 11 - 13 all        extending through corresponding holes in the motherboard
together constituting an integrated unit.                            of the CPU . The frame 3 will still provide an opening for the
   FIG . 15 - 16 are perspective view of a preferred embodi -        CPU to enable the CPU to extend through the frame.
ment of a reservoir and a pump and a heat exchanging                    The heat exchanging interface 4 is a separate element and
surface constituting an integrated unit.                          35 is made of a heat conducting material having a relative high
                                                                     heat thermal conductivity such as copper or aluminium , and
             DETAILED DESCRIPTION OF THE                             which will be in thermal contact with the CPU 1, when the
                      INVENTION                                      cooling system is fastened to the motherboard 2 of the CPU .
                                                                     The heat exchanging surface constitutes part of a liquid
   FIG . 1 is an exploded view of an embodiment of prior art 40 reservoir housing 14 , thus the heat exchanger 4 constitutes
cooling apparatus for a computer system . The figure shows the part of the liquid reservoir housing facing the CPU . The
the typical components in an air -cooling type CPU cooling reservoir may as example be made of plastic or ofmetal. The
arrangement. The figure shows a prior art heat sink 4                reservoir or any other parts of the cooling system , which are
intended for air cooling and provided with segments inter -          possibly manufactured from a plastic material may be “ met
sected by interstices , a prior art air fan 5 which is to be 45 allised ” in order to minimise liquid diffusion or evaporation
mounted on top of the heat sink by use of fastening means            of the liquid . The metal may be provided as a thin layer of
3 and 6 .                                                           metal coating provided on either or on both of the internal
   The fastening means comprises a frame 3 provided with             side or the external side of the plastic part.
holes intended for bolts , screws, rivets or other suitable             If the reservoir is made of metal or any other material
fastening means (not shown ) for thereby attaching the frame 50      having a relative high heat conductivity compared to as
to a motherboard 2 of a CPU 1 or onto another processing             example plastic, the heat exchanging interface as a separate
unit of the computer system . The frame 3 is also provided           element may be excluded because the reservoir itself may
with mortises provided in perpendicular extending studs in           constitute a heat exchanger over an area , wherein the res
each corner of the frame, said mortises intended for taking          ervoir is in thermal contact with the processing unit. Alter
up tenons of a couple of braces. The braces 6 are intended 55 natively to having the heat exchanging interface constitute
for enclosing the heat sink 4 and the air fan 5 so that the air      part of the liquid reservoir housing , the liquid reservoir
fan and the heat sink thereby is secured to the frame. Using         housing may be tightly attached to the heat exchanging
proper retention mechanisms, when the frame is attached to           interface by means of screws, glue, soldering , brazing or the
the motherboard of the CPU of other processing unit, and             like means for securing the heat exchanging interface to the
when the tenons of the braces are inserted into the mortises 60 housing and vice versa , perhaps with a sealant 5 provided
of the frame, the air fan and heat exchanger is pressed         between the housing and the heat exchanging interface .
towards the CPU by using a force perpendicular to the CPU               Alternatively to providing a heat exchanging interface
surface, said force being provided by lever arms.                 integrate with the reservoir containing the cooling liquid , it
   FIG . 2 shows the parts of the typical air - cooling type CPU will be possible to exclude the heat exchanger and providing
cooling arrangement of FIG . 1 , when assembled . The parts 65 another means for dissipating heat from the processing unit
are attached to each other and will be mounted on top of a       to the cooling liquid in the reservoir, The other means will
CPU on a motherboard (not shown ) of a computer system . be a hole provided in the reservoir, said hole intended for
         Case 3:19-cv-00410-EMC Document 1-4 Filed 01/23/19 Page 18 of 23


                                                      US 10 , 078 , 354 B2
                                                                                                     10
being directed towards the processing unit. Boundaries of               said outer surface being intended for abutting the free
the hole will be sealed towards boundaries of the processing            surface of the heat generating component such as the CPU
unit or will be sealed on top of the processing unit for                (see FIG . 4 ) . However, also the inner surface (not shown , see
thereby preventing cooling liquid from the reservoir from               FIG . 7 ) facing the reservoir is plane . Accordingly , the copper
leaking. The only prerequisite to the sealing is that a 5 plate need no machining other than the shaping of the outer
liquid -tight connection is provided between boundaries of              boundaries into the octagonal shape used in the embodiment
the hole and the processing unit or surrounding of the                  shown and drilling of holes for insertion of the bolts . No
processing unit, such as a carrier card of the processing unit.         milling of the inner and / or the outer surface need be pro
   By excluding the heat exchanger, a more effective heat vided .
dissipation will be provided from the processing unit and to 10 A sealant in form of a gasket 13 is used for the connection
the cooling liquid of the reservoir , because the intermediate          between the reservoir 14 and the heat exchanging surface
element of a heat exchanger is eliminated . The only obstacle           forming a liquid tight connection . The pump is intended for
in this sense is the provision of a sealing being fluid - tight in      being placed within the reservoir. The pump has a pump inlet
so that the cooling liquid in the reservoir is prevented from           20 through which the cooling liquid flows from the reservoir
leaking .                                                    15 and into the pump , and the pump has a pump outlet 19
   The heat exchanging surface 4 is normally a copper plate . through which the cooling liquid is pumped from the pump
When excluding the heat exchanging surface 4 , which may        and to the outlet connection . The figure also shows a lid 17
be a possibility not only for the embodiments shown in FIG . for the reservoir. The non -smooth inner walls of the reser
 4 , but for all the embodiments of the invention , it may be voir and the fact that the pump is situated inside the reservoir
necessary to provide the CPU with a resistant surface that 20 will provide a swirling of the cooling liquid inside the
will prevent evaporation of the cooling liquid and /or any reservoir .
damaging effect that the cooling liquid may pose to the CPU .             However, apart from the non -smooth walls of the reser
A resistant surface may be provided the CPU from the CPU                voir and the pump being situated inside the reservoir, the
producer or it may be applied afterwards. A resistant surface  reservoir may be provided with channels or segments for
to be applied afterwards may e . g . be a layer, such as an 25 establishing a certain flow -path for the cooling liquid
adhesive tape provided on the CPU . The adhesive tape may               through the reservoir (see FIG . 9 -10 and FIG . 15 ). Channel
be made with a thin metal layer e.g. in order to prevent                or segments are especially needed when the inner surface of
evaporation of the cooling liquid and /or any degeneration of           the heat exchanging surface is plane and / or when the inner
the CPU itself.                                                 walls of the reservoir are smooth and/ or if the pump is not
  Within the liquid reservoir, a liquid pump (not shown ) is 30 situated inside the reservoir. In either of the circumstances
placed for pumping a cooling liquid from an inlet tube 15 mentioned , the flow of the cooling liquid inside the reservoir
connection being attached to the housing of the reservoir may result in the cooling liquid passing the reservoir too
through the reservoir and past the heat exchanger in thermal            quickly and not being resident in the reservoir for a sufficient
contact with the CPU to an outlet tube connection 16 also               amount of time to take up a sufficient amount ofheat from
being attached to the reservoir housing. The existing fasten - 35 the heat exchanging surface . By providing channels or
ing means comprising braces 6 with four tenons and the                  segments inside the reservoir , a flow will be provided
frame 3 with four corresponding mortises will fasten the                forcing the cooling liquid to pass the heat exchanging
reservoir and the heat exchanger to the motherboard of the              surface , and the amount of time increased of the cooling
CPU . When fastening the two parts of the existing fastening            liquid being resident inside the reservoir , thus enhancing
means to each other the fastening will by means of the lever 40 heat dissipation . If channels or segments are to be provided
arms 18 create a force to assure thermal contact between the inside the reservoir, the shape and of the channels and
CPU 1 mounted on the motherboard and the heat exchanger         segments may be decisive of whether the reservoir is to be
4 being provided facing the CPU .                                       made of plastic , perhaps by injection moulding , or is to be
   The cooling liquid of the cooling system may be any type             made of metal such as aluminium , perhaps by die casting.
of cooling liquid such as water, water with additives such as 45           The cooling liquid enters the reservoir through the tube
anti- fungicide, water with additives for improving heat                inlet connection 15 and enters the pump inlet 20 , and is
conducting or other special compositions of cooling liquids            p umped out of the pump outlet 19 connected to the outlet
such as electrically non - conductive liquids or liquids with           connection 16 . The connection between the reservoir and the
lubricant additives or anti-corrosive additives.                        inlet tube connection and the outlet tube connection , respec
   FIG . 5 shows the parts shown in FIG . 4 when assembled 50 tively, are made liquid tight. The pump may not only be a
and attached to the motherboard of a CPU of a computer self -contained pumping device , but may be made integrated
system 2 . The heat exchanger and the CPU is in close into the reservoir, thusmaking the reservoir and a pumping
thermal contact with each other. The heat exchanger and the    device one single integrated component. This single inte
remainder of the reservoir 14 is fastened to the motherboard   grated element of the reservoir and the pumping device may
2 by means of the existing fastening means being secured to 55 also be integrated , thus making the reservoir , the pumping
the motherboard of the CPU and by means of the force                    device and the heat exchanging surface one single integrated
established by the lever arms 18 of the existing fastening              unit . This may as example be possible if the reservoir is
means . The tube inlet connection 15 and the tube outlet                made of a metal such as aluminium . Thus, the choice of
connection 16 are situated so as to enable connection of                material provides the possibility of constituting both the
tubes to the connections .                                           60 reservoir and a heat exchanging surface having a relatively
  FIG . 6 is an exploded view of the reservoir shown in                 high heat conductivity , and possibly also renders the possi
previous FIG . 4 and FIG . 5 and seen from the opposite site            bility of providing bearings and the like constructional
and also showing the pump 21 being situated inside the                  elements for a motor and a pumping wheel being part of the
reservoir. Eight screws 22 are provided for attaching the heat          pumping device . In an alternative embodiment, the pump is
exchanging surface 4 to the remainder of the reservoir. The 65 placed in immediate vicinity of the reservoir , however
heat exchanging surface is preferably made from a copper                outside the reservoir . By placing the pump outside, but in
plate having a plane outer surface as shown in the figure ,             immediate vicinity of the reservoir , still an integrate element
         Case 3:19-cv-00410-EMC Document 1-4 Filed 01/23/19 Page 19 of 23


                                                     US 10 ,078 , 354 B2
                             11                                                                  12
may be obtained , The pump or the inlet or the outlet is            alike system of the computer system may be designed for
preferably positioned so as to obtain a turbulence of flow in       regulating the rotational speed of the pump, and thus of the
the immediate vicinity of the heat exchanging interface ,           motor driving the pump, and the rotational speed of the air
thereby promoting increased heat dissipation between the            fan , and thus the motor driving the air fan . The regulation
heat exchanging interface end the cooling liquid . Even in the 5 will take into account the cooling capacity needed , but the
alternative , a pumpingmember such as an impeller ( see FIG .       regulation will at the same time take into account which of
15 - 16 ) may be provided in the immediate vicinity of the heat     the two cooling means, i.e . the pump and the air fan , is
exchanging surface . The pumping member itself normally             generating the most noise . Thus, it the air fan generally is
introduces a turbulence of flow , and thereby the increased         generating more noise than the pump, then the regulation
heat dissipation is promoted irrespective of the position of 10 will reduce the rotational speed of the air fan before reducing
the pump itself, or the position of the inlet or of the outlet      the rotational speed of the pump, whenever a lower cooling
to the reservoir or to the pump .                                   capacity is needed . Thereby, the noise level of the entire
   The pump may be driven by an AC or a DC electrical               cooling system is lowered as much as possible . If the
motor. When driven by an AC electrical motor, although              opposite is the case , i.e . the pump generally generating more
being technically and electrically unnecessary in a computer 15 noise than the air fan , then the rotational speed of the pump
system , this may be accomplished by converting part of the         will be reduced before reducing the rotational speed of the
DC electrical power of the power supply of the computer             air fan . Even further control strategies involve controlling
system to AC electrical power for the pump. The pump may            the cooling capacity in dependence on the type of computer
be driven by an electrical motor at any voltage common in           processing taking place . Some kind of computer processing,
public electrical networks such as 110V or 220V . However, 20 such as word - processing, applies a smaller load on the
in the embodiment shown , the pump is driven by a 12V AC            processing units such as the CPU than other kinds of
electrical motor.                                                   computer processing , such as image processing . Therefore,
   Control of the pump in case the pump is driven by an AC          the kind of processing taking place on the computer system
electrical motor, preferably takes place by means of the            may be used as an indicator of the cooling capacity. It may
operative system or an alike means of the computer system 25 even be possible as part of the operative system or similar
 itself , and where the computer system comprises means for         system to establish certain cooling scenarios , depending on
measuring the CPU load and /or the CPU temperature . Using          the kind of processing intended by the user. If the user
the measurement performed by the operative system or alike          selects as example word - processing , a certain cooling strat
system of the computer system eliminates the need for               egy is applied based on a limited need for cooling. If the user
special means for operating the pump. Communication 30 selects as example image -processing , a certain cooling strat
between the operative system or alike system and a proces-          egy is applied based on an increased need for cooling . Two
sor for operating the pump may take place along already             or more different cooling scenarios may be established
established communication links in the computer system              depending on the capacity and the control possibilities and
such as a USB - link . Thereby , a real- time communication         capabilities of the cooling system and depending on the
between the cooling system and the operative system is 35 intended use of the computer system , either as selected by a
provided without any special means for establishing the             user during use of the computer system or as selected when
communication . In the case of the motor driving the pump           choosing hardware during build -up of the computer system ,
is an AC electrical motor, the above method of controlling          i.e . before actual use of the computer system .
the pump may be combined with a method , where said                    The pump is not being restricted to a mechanical device ,
pumping means is provided with a means for sensing a 40 but can be in any form capable of pumping the cooling liquid
position of the rotor of the electrical motor, and wherein the through the system . However, the pump is preferably one of
following steps are employed : Initially establishing a pre -       the following types of mechanical pumps: Bellows pump,
ferred rotational direction of the rotor of the electrical motor,   centrifugal pump, diaphragm pump, drum pump, flexible
before start of the electrical motor, sensing the angular           liner pump, flexible impeller pump, gear pump, peristaltic
position of the rotor, during start, applying an electrical AC 45 tubing pump, piston pump, processing cavity pump, pres
voltage to the electricalmotor and selecting the signal value ,     sure washer pump, rotary lobe pump, rotary vane pump and
positive or negative , of the AC voltage at start of the            electro -kinetic pump. Similarly, the motor driving the pump
electricalmotor, said selection being made according to the         ing member need not be electrical but may also be a
preferred rotational direction , and said application of the AC     piezo - electrically operated motor, a permanentmagnet oper
voltage being performed by the computer system for apply - 50 ated motor, a fluid -operated motor or a capacitor -operated
ing the AC voltage from the electrical power supply of the          motor. The choice of pump and the choice of motor driving
computer system during conversion of the electrical DC              the pump id dependent on many different parameters , and it
voltage of the power supply to AC voltage for the electrical        is up to the person skilled in the art to choose the type of
motor. By the operative system of the computer system itself        pump and the type of motor depending on the specific
generating the AC voltage for the electrical motor, the 55 application . As example , some pumps and somemotors are
rotational direction of the pump is exclusively selected by better suited for small computer systems such as lab -tops,
the computer system , non -depending on the applied voltage         some pumps and some motors are better suited for estab
of the public grid powering the computer system .                   lishing i high flow of the cooling liquid and thus a high
  Further control strategies utilising the operative system or      cooling effect, and even some pumps and motors are better
alike system of the computer system may involve balancing 60 suited for ensuring a low -noise operation of the cooling
the rotational speed of the pump as a function of the cooling       system .
capacity needed . If a lower cooling capacity is needed , the         FIG . 7 is a cut-out view into the reservoir , when the
rotational speed of the pump, may be limited , thereby              reservoir and the heat exchanging surface 4 is assembled and
limiting the noise generating by the motor driving the pump.        the pump 21 is situated inside the reservoir . The reservoir is
   In the case an air fan is provided in combination with a 65 provided with the tube inlet connection (not seen from the
heat sink as shown in FIG . 1 , of the air fan is provided in   figure ) through which the cooling liquid enters the reservoir.
combination with the heat radiator, the operative system or         Subsequently, the cooling liquid flows through the reservoir
         Case 3:19-cv-00410-EMC Document 1-4 Filed 01/23/19 Page 20 of 23


                                                   US 10 ,078 , 354 B2
                             13                                                                   14
passing the heat exchanging surface and enters the inlet of         of the reservoir are smooth and/ or if the pump is not situated
the pump. After having been passed through the pump, the            inside the reservoir. In either of the circumstances men
cooling liquid is passed out of the outlet of the pump and          tioned , the flow of the cooling liquid inside the reservoir
further out through the tube outlet connection 16 . The figure may result in the cooling liquid passing the reservoir too
also shows a lid 17 for the reservoir. The flow of the cooling 5 quickly and not being resident in the reservoir for a sufficient
liquid inside the reservoir and trough the pump may be           amount of time to take up a sufficient amount of heat from
further optimised in order to use as little energy as possible   the heat exchanging surface . If channels or segments in the
for pumping the cooling liquid , but still having a sufficient      reservoir are to be provided inside the reservoir, the shape
amount of heat from the heat exchanging surface being           and of the channels and segments may be decisive of
dissipated in the cooling liquid . This further optimisation 10 whether the reservoir is to be made of plastic , perhaps by
can be established by changing the length and shape of the          injection moulding , or is to be made of metal such as
tube connection inlet within the reservoir, and /or by chang -      aluminium , perhaps by die casting .
ing the position of the pump inlet, and / or for instance by          Bymeans of the alternative heat radiator, the heat radiator
having the pumping device placed in the vicinity and in             11 is not provided as is shown in the figure with the rather
immediate thermal contact with the heat exchanging surface 15 expensive structure of channels leading the cooling liquid
and/ or by providing channels or segments inside the reser -        along ribs connecting the channels for improved surface of
voir.                                                               the structure . Instead , the heat radiator is provided as
   In this case, an increased turbulence created by the             described as a unit constituted by a heat sink with or without
pumping device is used to improve the exchange of heat              a fan and a reservoir, and thereby providing a simpler and
between the heat exchanging surface and the cooling liquid . 20 thereby cheaper heat radiator than theheat radiator 11 shown
Another or an additional way of improving the heat                  in the figure .
exchange is to force the cooling liquid to pass through                The alternative heat radiator provided as an unit consti
specially adapted channels or segments being provided               tuted by a heat sink and a reservoir , may be used solely , with
inside the reservoir or by making the surface of the heat           or without a pump inside the reservoir and with or without
exchanging surface plate inside the reservoir uneven or by 25 the segments or channels , for being placed in direct or
adopting a certain shape of a heat sink with segments. In the       indirect thermal contact with a heat generating processing
figure shown, the inner surface of the heat exchanging              unit such as CPU or with the heat exchanging surface ,
surface facing the reservoir is plane .                             respectively . These embodiments of the invention may e . g .
  FIG . 8 is a perspective view of the cooling system               be used for a reservoir, where the cooling liquid along a first
showing the reservoir 14 with the heat exchanging surface 30 side within the reservoir is in direct heat exchanging contact
(not shown ) and the pump ( not shown ) inside the reservoir.       with the heat generating processing unit such as a CPU and
 The tube inlet connection and the tube outlet connection are       the cooling liquid along a second side within the reservoir is
connected to a heat radiator by means of connecting tubes 24        in direct heat exchanging contact with a heat sink . Such a
and 25 through which the cooling liquid flows into and out          reservoir may be formed such as to provide a larger area of
of the reservoir and the heat radiator, respectively . Within 35 heat exchanging surface towards the heat generating pro
the heat radiator 11 , the cooling liquid passes a number of     cessing unit such as a CPU than the area of the heat
channels for radiating the heat, which has been dissipated          exchanging surface facing the heat sink. This may e.g . have
into the cooling liquid inside the reservoir , and to the           the purpose of enlarging the area of the heat exchanging
surroundings of the heat exchanger. The air fan 10 blows air        surface so as to achieve an improved heat dissipation form
past the channels of the heat radiator in order to cool the 40 e . g . the CPU to the heat sink than that of a conventional heat
radiator and thereby cooling the cooling liquid flowing             sink without a reservoir attached . Conventional heat sinks
inside the channels through the heat radiator and back into         normally only exchanges heat with the CPU through the area
the reservoir. According to the invention, theheat radiator 11      as given by the area of the top side of the CPU . A system
may be provided alternatively . The alternative heat radiator       comprising a liquid reservoir and a heat sink with a fan
is constituted by a heat sink , such as a standard heat sink 45 provided has been found to be a simple , cost optimised
made of extruded aluminium with fins on a first side and a          system with an improved heat dissipation than that of a
substantially plane second side. An air- fan may be provided        standard heat sink with a fan , but without the reservoir. In
in connection with the fins along the first side . Along the        another embodiment of the invention , which may be derived
second side of the heat sink a reservoir is provided with at        from FIG . 8 , the air fan and the heat radiator is placed
least one aperture intended for being closed by placing said 50 directly in alignment of the reservoir. Thereby , the reservoir
aperture covering part of , alternatively covering the whole        14 , the air fan 10 and the radiator 11 constitute an integrate
of, the substantial plane side of the heat sink . When closing      unit. Such an embodiment may provide the possibility of
the reservoir in such a way a surface of the heat sink is in        omitting the connection tubes , and passing the cooling liquid
direct heat exchanging contact with an interior of the res -        directly from the heat radiator to the reservoir via an inlet
ervoir, and thus in direct heat exchanging contact with the 55 connection of the reservoir, and directly from the reservoir
cooling liquid in the reservoir , through the at least one     to the heat radiator via an outlet connection of the reservoir.
aperture . This alternative way of providing the heat radiator      Such an embodimentmay even render the possibility of both
may be used in the embodiment shown in FIG . 8 or may be            the pumping device of the liquid pump inside the reservoir
used as a heat radiator for another use and/or for another          and the electricalmotor for the propeller of the air fan 23 of
embodiment of the invention .                                    60 the heat radiator 11 being driven by the same electrical
   A pumping means for pumping the cooling liquid trough            motor, thus making this electrical motor the only motor of
the reservoir may ormay not be provided inside the reservoir        the cooling system . When placing the heat radiator on top of
at the heat sink . The reservoir may be provided with               the air fan now placed directly in alignment with the
channels or segments for establishing a certain flow - path for reservoir and connecting the heat radiator directly to the
the cooling liquid through the reservoir. Channels or seg - 65 inlet connection and outlet connection of the reservoir, a
ments are especially needed when the inner surface of the           need for tubes will not be present. However, if the heat
heat exchanging surface is plane and/ or when the inner walls       radiator and the reservoir is not in direct alignment with each
            Case 3:19-cv-00410-EMC Document 1-4 Filed 01/23/19 Page 21 of 23


                                                     US 10 ,078 ,354 B2
                                 15                                                                 16
other, but tubes may still be needed , but rather than tubes ,           depending on any desire or requirement and depending on
pipes made of metal such as copper or aluminium may be                   the type of CPU and the size and shape of the free surface
employed , such pipes being impervious to any possible                   of the CPU . Also . other processing units than a CPU may
 evaporation of cooling liquid . Also , the connections between          exhibit differentneeds for heat dissipation , and may exhibit
such pipes and the heat radiator and the reservoir, respec -        5 other sizes and shapes of the free surface , leading to a need
tively, may be soldered so that even the connections are                 for other configurations of the channels. If the processing
made impervious to evaporation of cooling liquid .                       unit is very elongate , such as a row of microprocessors , one
   In the derived embodiment just described , an integrated              or a plurality of parallel channels may be provided , perhaps
unit of the reservoir, the heat exchanging surface and the               just having a common inlet and a common outlet.
pumping device will be given a structure establishing               10      FIG . 11 - 13 show an embodiment of a heat sink 4 , where
improved heat radiating characteristics because the flow of              segments 28 are provided at a first side 4A of the heat sink ,
air of the air fan may also be directed along outer surfaces             and fins 29 for dissipating heat to the surroundings are
of the reservoir . If the reservoir is made of a metal, the metal        provided at the other , second side 4B of the heat sink . An
will be cooled by the air passing the reservoir after having        1515 intermediate reservoir housing 30 is provided having a
passed or before passing the heat radiator. If the reservoir is
made of metal, and if the reservoir is provided with seg                 recessed reservoir at the one side facing the first side 4A of
ments on the outside surface of the reservoir , such cooling             the heat sink . The recessed reservoir 30 has an inlet 31 and
of the reservoir by the air will be further improved . Thereby ,         an outlet 32 at the other side opposite the side facing the heat
the integrated unit just described will be applied improved
heat radiating characteristics, the heat radiation function         20     When segments 28 are provided on the first side 4A of the
normally carried out by the heat radiator thus being supple -            heat sink , the shape of the segments may be decisive of
mented by one or more of the further elements of the cooling      whether the reservoir , which is made from metal such as
system , i.e . the reservoir, the heat exchanging surface , the   aluminium or copper, is to be made by extrusion or is to be
liquid pump and the air fan .                                     made by other manufacturing processes such as die casting.
   FIG . 9 - 10 show an embodiment of a reservoir housing 14 , 25 Especially when the segments 28 are linear and are parallel
where channels 25 are provided inside the reservoir for with the fins 29 , as shown in the embodiment, extrusion is
establishing a forced flow of the cooling liquid inside the              a possible and cost -effective means of manufacturing the
reservoir. The channels 25 in the reservoir 14 lead from an              heat sink 4 .
inlet 15 to an outlet 16 like a maze between the inlet and the The intermediate reservoir 30 or any other parts of the
outlet. The reservoir 14 is provided with an aperture 27 30 cooling system , which are possibly manufactured from a
having outer dimensions corresponding to the dimensions of               plastic material may be “metallised ” in order to minimise
a free surface of the processing unit 1 to be cooled . In the            liquid diffusion or evaporation of the liquid . The metalmay
embodiment shown , the processing unit to be cooled is a                 be provided as a thin layer of metal coating provided on
CPU 1 .                                                                  either or on both of the internal side or the external side of
   When channels 26 are provided inside the reservoir, the 35 the plastic part. The recessed reservoir is provided with a
shape of the channels may be decisive of whether the                     kind of serration 33 along opposite sides of the reservoir, and
reservoir is to be made of plastic , perhaps manufactured by             the inlet 31 and the outlet 32 , respectively , are provided at
injection moulding , or is to be made of metal such as                   opposite corners of the intermediate reservoir 30 . The seg
aluminium , perhaps manufactured by extrusion or by die                  ments 28 provided at the first side 4A of the heat sink, i.e .
casting .                                                     40 the side facing the intermediate reservoir 30 , are placed so
   The reservoir 14 or any other parts of the cooling system , that when the heat sink is assembled with the intermediate
which are possibly manufactured from a plastic material reservoir housing (see FIG . 13 ) the segments 29 run from
may be “ metallised ” in order to minimise liquid diffusion or           one serrated side of the reservoir to the other serrated side of
evaporation of the liquid . The metal may be provided as a               the reservoir.
thin layer ofmetal coating provided on either or on both of 45             When cooling liquid is forced from the inlet 31 through
the internal side or the external side of the plastic part. The          the reservoir , along channels (not shown ) formed by the
CPU 1 is intended for being positioned in the aperture 27 , as           segments 29 of the heat sink 4 and to the outlet 32 , the whole
shown in FIG . 10 , so that outer boundaries of the CPU are              of the first side 4A of the heat sink will be passed over by
engaging boundaries of the aperture . Possibly, a sealant (not           the cooling liquid , thus ensuring a proper and maximised
shown ) may be provided along the boundaries of the CPU 50 heat dissipation between the cooling liquid and theheat sink .
and the aperture for ensuring a fluid tight engagement The configuration of the segments on the first side 4A of the
between the boundaries of the CPU and the boundaries of           heat sink and the configuration of the serrated sides of the
the aperture. When the CPU 1 is positioned in the aperture intermediate reservoir housing may be designed and selected
27, the free surface ( not shown ) of the CPU is facing the according to any provisions. Accordingly, the segments may
reservoir, i.e . the part of the reservoir having the channels 55 have another design , perhaps being wave - shaped or also a
provided . Thus, when positioned in the aperture 27 ( see FIG . serrated shape , depending on any desired flow characteris
10 ), the free surface of the CPU 1 is having direct contact tics of the cooling liquid and depending on the type of heat
with cooling liquid flowing through the channels 26 in the sink and the size and shape of the reservoir.
reservoir.                                                           Also other types of heat sinks, perhaps circular shaped
   When cooling liquid is forced from the inlet 15 along the 60 heat sinks may exhibit different needs for heat dissipation ,
channels 26 to the outlet 16 , the whole of the free surface of          may exhibit other sizes and shapes of the free surface ,
the CPU 1 will be passed over by the cooling liquid , thus               leading to a need for other configurations of the segments
ensuring a proper and maximised cooling of the CPU . The                 and the intermediate reservoir . If the heat sink and the
configuration of the channels may be designed and selected               reservoir are circular or oval, a spiral- shaped segmentation
according to any one or more provisions, i. e . high heat 65 or radially extending segments may be provided , perhaps
dissipation , certain flow characteristics, ease ofmanufactur-           having the inlet or the outlet in the centre of the reservoir. If
ing etc . Accordingly, the channels may have another design              an impeller of the pump is provided , as shown in FIG . 15 - 16 ,
         Case 3:19-cv-00410-EMC Document 1-4 Filed 01/23/19 Page 22 of 23


                                                    US 10 ,078, 354 B2
                                                                                            18
the impeller of the pump may be positioned in the centre of        means shown in FIG . 4 and FIG . 5 or similar fastening
a spiral- shaped segmentation or in the centre of radially         means already provided as part of the computer system .
extending segments .                                                  When channels 26 are provided inside the reservoir 14 ,
   FIG . 14 shows the reservoir 14 shown in FIG . 9 - 10 and the shape of the channels may be decisive of whether the
the heat sink 4 and the intermediate reservoir 30 shown in 5 reservoir is to be made of plastic , perhaps by injection
FIG . 11 - 13 being assembled for thereby constituting an         moulding , or is to be made of metal such as aluminium ,
integrated monolithic unit. It is not absolutely necessary to     perhaps by die casting .
assemble the reservoir 14 of FIG . 9 - 10 and the heat sink 4        The reservoir 14 or any other parts of the cooling system ,
and the intermediate reservoir 30 of FIG . 11 - 13 in order to    which are possibly manufactured from a plastic material
obtain a properly functioning cooling system . The inlet 15010 may     be “ metallised ” in order to minimise liquid diffusion or
                                                                  evaporation   of the liquid . The metal may be provided as a
and the outlet 16 of the reservoir 14 of FIG . 9 - 10 may be thin layer ofmetal
connected to the outlet 32 and the inlet 31 , respectively, of the internal side or coating
                                                                                        the
                                                                                                provided on either or on both of
                                                                                            external side of the plastic part. The
the intermediate reservoir of FIG . 11 - 13 by means of tubes     impeller 33 ( see FIG . 14 ) of the pump is positioned in a
or pipes .                                                     15 separate recess of the channels 26 , said separate recess
   The reservoir 14 of FIG . 9 - 10 and the heat sink 4 and the having a sisize corresponding to the diameter of the impeller
intermediate reservoir 30 of FIG . 11 - 13 may then be posi- of the pump. The recess is provided with an inlet 34 and an
tioned in the computer system at different locations. How         outlet 35 being positioned opposite an inlet 31 and an outlet
ever, by assembling the reservoir 14 of FIG . 9 - 10 and the      32 of cooling liquid to and from , respectively , the channels
heat sink 4 and the intermediate reservoir 30 of FIG . 11 - 13 20 26 . The impeller 33 of the pump has a shape and a design
a very compact monolithic unit is obtained , also obviating        intended only for one way rotation , in the embodiment
the need for tubes or pipes. Tubes or pipes may involve an         shown a clock -wise rotation only . Thereby, the efficiency of
increased risk of leakage of cooling liquid or may require         the impeller of the pump is highly increased compared to
soldering or other special working in order to eliminate the       impellers capable of and intended for both clock -wise and
risk of leakage of cooling liquid . By eliminating the need for 25 counter clock -wise rotation .
tubes or pipes , any leakage and any additional working is            The increased efficiency of the impeller design results in
obviated when assembling the cooling system .                      the electric motor (not shown ) driving the impeller of the
  FIG . 15 - 16 show a possible embodiment of a reservoir          pump possibly being smaller than otherwise needed for
according to the invention . The reservoir is basically similar    establishing a proper and sufficient flow of cooling liquid
to the reservoir shown in FIG . 9 - 10 . However, an impeller 30 through the channels . In a preferred embodiment, the elec
33 of the pump of the cooling system is provided in direct         tric motor is an AC motor, preferably a 12V AC motor,
communication with the channels 26 . Also , in the embodi-         leading to the possibility of an even smaller motor needed
ment shown, a heat exchanging interface 4 such as a surface        for establishing the proper and sufficient flow of cooling
made from a copper plate , alternatively a plate of another liquid through the channels.
material having a high thermal conductivity , is placed 35 The impeller of the pumpmay be driven by an AC or a DC
between the channels 26 inside the reservoir and the CPU 1         electrical motor. However, as mentioned , preferably the
as the processing unit .                                           impeller of the pump is driven by an AC electricalmotor.
    The heat exchanging surface 4 is preferably made from a Although being technically and electrically unnecessary to
copper plate having a plane outer surface as shown in the use an AC electrical motor in a computer system , this may
figure, said outer surface being intended for abutting the free 40 be accomplished by converting part of the DC electrical
surface of the heat generating component such as the CPU           power of the power supply of the computer system to AC
 1 ( see FIG . 4 ). However, also the inner surface (not shown, electrical power for the impeller of the pump . The impeller
see FIG . 7 ) facing the reservoir is plane . Accordingly , the    may be driven by an electricalmotor at any voltage common
copper plate need no machining other than the shaping of the       in public electrical networks such as 110V or 220V . How
outer boundaries into the specially adapted shape used in the 45 ever, in the embodiment shown , the impeller of the pump is
embodiment shown and drilling of holes for insertion of the        driven by a 12V electrical motor.
bolts . No milling of the inner and/ or the outer surface need        The invention has been described with reference to spe
be provided .                                                      cific embodiments and with reference to specific utilisation ,
   The provision of the heat exchanging surface 4 need not         it is to be noted that the different embodiments of the
be a preferred embodiment, seeing that the solution incor- 50 invention may be manufactured , marketed , sold and used
porating the aperture ( see FIG . 9 - 10 ) result in a direct heat separately or jointly in any combination of the plurality of
exchange between the free surface of the CPU or other              embodiments . In the above detailed description of the inven
processing unit and the cooling liquid flowing along the           tion , the description of one embodiment, perhaps with
channels in the reservoir. However, the heat exchanging            reference to one or more figures, may be incorporated into
surface enables usage of the cooling system independently 55 the description of another embodiment, perhaps with refer
on the type and size of the free surface of CPU or other          e nce to another or more other figures , and vice versa .
processing unit.                                                   Accordingly , any separate embodiment described in the text
   In the embodiment shown, the heat exchanging surface 4          and/or in the drawings, or any combination of two or more
is secured to the reservoir by means of bolts 22 . Other           embodiments is envisaged by the present application .
convenient fastening means may be used . The heat exchang - 60
ing surface 4 and thus the reservoir 14 may be fastened to the        I claim :
CPU 1 or other processing unit by any suitable means such             1. A cooling system for a computer system processing
as soldering , brazing or by means of thermal paste combined       unit , comprising :
with glue. Alternatively , special means ( not shown ) may be         a reservoir configured to circulate a cooling liquid there
provided for ensuring a thermal contact between the free 65             through , the reservoir including :
surface of the CPU or other processing unit and the heat                an upper chamber and a lower chamber, wherein the
exchanging surface . One such means may be the fastening                  upper chamber and the lower chamber are vertically
           Case 3:19-cv-00410-EMC Document 1-4 Filed 01/23/19 Page 23 of 23


                                                   US 10 ,078 , 354 B2
                              19                                                                   20
        displaced fluid -containing chambers that are each            a radiator spaced apart from and fluidly coupled to the
        surrounded by boundary walls ;                                   reservoir .
     a first passage that fluidly couples the lower chamber to   9 . The cooling system of claim 8 , further including a
                                                               control
        the upper chamber , where the first passage is sub 5 adjust     system ,, wher
                                                               controla system    wherein the control system is configured to
        stantially central to the lower chamber ;                        speed of the pump.
     a second passage positioned at a perimeter of the lower           10 . The cooling system of claim 9 , wherein the control
        chamber ;                                                   system is part of an operating system of the computer.
     wherein the lower chamber includes a plurality of                 11 . The cooling system of claim 9 , wherein the control
        channels configured to split the flow of cooling         system is configured to measure one of an operating load or
        liquid and direct the cooling liquid from the central 10 an operating temperature of the processing unit and adjust
        region toward the perimeter of the lower chamber;        the pump based on the measured value .
   a heat exchanging interface attached to the reservoir to         12 . The cooling system of claim 9 , wherein the control
                                                                 system is configured to determine a required cooling capac
       form a boundary wall of the lower chamber, the heat ity of the cooling system and adjust a rotational speed of the
       exchanging interface provides thermal contact between 15 pump      based on the required cooling capacity .
       the processing unit and the cooling liquid ;                  13 . The cooling system of claim 9 , wherein the control
   a pump having a motor and an impeller, the impeller being
       positioned within the upper chamber of the reservoir; system
                                                                  pump    if
                                                                             is configured to reduce the rotational speed of the
                                                                               lower cooling capacity is required .
       and                                                           14 . The    cooling system of claim 9 , wherein the control
   a radiator spaced apart from and fluidly coupled to the 20 system is configured        to adjust a rotational speed of a fan and
       reservoir .
   2 . The cooling system of claim 1, further including a aa rotational           speed of the pump to reduce noise and provide
                                                                    required cooling capacity of the cooling system .
control system , wherein the control system is configured to         15 . A cooling system for a computer system processing
adjust a speed of the pump.
   3 .  The  cooling system  of claim 2 , wherein   the
system is part of an operating system of the computer
                                                        control   unit , comprising :
                                                                25 a reservoir configured to circulate a cooling liquid there
   4 . The cooling system of claim 2 , wherein the control              through , the reservoir including :
system is configured to measure one of an operating load or             an   upper chamber and a lower chamber, wherein the
an operating temperature of the processing unit and adjust                 upper chamber and the lower chamber are vertically
the pump based on the measured value.                                      displaced fluid -containing chambers that are each
   5 . The cooling system of claim 2 , wherein the control 30              surrounded by boundary walls,
system is configured to determine a required cooling capac              a first passage that fluidly couples the lower chamber to
ity of the cooling system and adjust a rotational speed of the             the upper chamber;
pump based on the required cooling capacity .                            a second passage positioned at a perimeter of the lower
  6 . The cooling system of claim 2 , wherein the control                   chamber ;
system is configured to reduce the rotational speed of the 35            wherein the first passage directs the cooling liquid into
pump if lower cooling capacity is required .                                the lower chamber where the cooling liquid splits
   7 . The cooling system of claim 2 , wherein the control                  and is directed along a plurality of channels from a
system is configured to adjust a rotational speed of a fan and              central region of the lower chamber outward , where
a rotational speed of the pump to reduce noise and provide                 the cooling liquid is collected and directed from the
a required cooling capacity of the cooling system .                        lower chamber through the second passage ;
  8 . A cooling system for a computer system processing               a heat exchanging interface attached to the reservoir to
unit , comprising:                                                       form a boundary wall of the lower chamber , the heat
  a reservoir configured to circulate a cooling liquid there             exchanging interface provides thermal contact between
     through , the reservoir including :                                 the processing unit and the cooling liquid ;
     an upper chamber and a lower chamber wherein the 45              a pump having a motor and an impeller, the impeller being
       upper chamber and the lower chamber are vertically                positioned within the upper chamber of the reservoir;
        displaced fluid -containing chambers that are each            and
       surrounded by boundary walls ,                               a radiator spaced apart from and fluidly coupled to the
     a first passage that fluidly couples the lower chamber to 50 16 .reservoir .
        the upper chamber, where the first passage is sub - 50 controlThe     cooling system of claim 15 , further including a
                                                                          system , wherein the control system is configured to
        stantially central to the lower chamber ;
                                                          lower adjust
     a second passage positioned at a perimeter of the lower             a speed of the pump .
                                                                 any17 . The cooling system of claim 16 , wherein the control
        chamber ;
     wherein the lower chamber includesas aa plurality       of system
                                                   plurality of  sys is part of an operating system of the computer .
        channels configured to direct the flow of cooling0 5555 system
                                                                   18 . The cooling system of claim 16 , wherein the control
                                                                         is configured to measure one of an operating load or
        liquid across the lower chamber ;                           an operating temperature of the processing unit and adjust
   a heat exchanging interface attached to the reservoir to
      form a boundary wall of the lower chamber, the heat           the pump based on the measured value.
      exchanging interface provides thermal contact between 60         19 . The cooling system of claim 16 , wherein the control
      the processing unit and the cooling liquid ;                  system is configured to determine a required cooling capac
   a pumphaving a motor and an impeller, the impeller being         ity of the cooling system and adjust a rotational speed of the
      positioned within the upper chamber of the reservoir;         pump based on the required cooling capacity.
     and                                                                                   *   *   *    *   *
